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                            UNITED STATES DISTRICT COURT
                           DISTRICT COURT OF CONNECTICUT

Tammy Cunningham,
                                                 Case No.: 3:23-cv-00030
              Plaintiff,                         Judge Janet C. Hall

       v.                                        NOTICE OF VOLUNTARY DISMISSAL

Parkview Advance, LLC

              Defendant.



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff gives notice

that Defendant is voluntarily dismissed with prejudice. Defendant has not served an

answer or a motion for summary judgment. And the parties have settled this matter.
Accordingly, Plaintiff notices voluntary dismissal of Defendant with prejudice. See Fed.

R. Civ. P. 41(a)(1)(B).


Dated: June 30, 2023
                                                 Respectfully Submitted,

                                                 /s/ Chester J. Bukowshi, Jr.
                                                 Chester J. Bukowski, Jr.
                                                 Bar No. CT05186
                                                 17 Cherry Tree Lane
                                                 Avon, CT 06001
                                                 Tel: (860) 712-4922
                                                 cjbesq100@aim.com
